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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                                   )
SIMONE GRIMES,                                     )
                                                   )
              Plaintiff,                           )
                                                   )
       V.                                          )      Civil No. 1: 18-cv-0 1946-CRC
                                                   )
                                                   )
FEDERAL HOUSING FINANCE                            )
         AGENCY, et al.                            )
                                                   )
              Defendants.                          )



                         ORDER TRANSFERRING MATTER TO
                     UNITED STATES COURT OF FEDERAL CLAIMS


       Having considered Plaintiff's Unopposed Motion to Transfer and the entire record herein,

it is this t{f'!_day of December 2018,

       ORDERED, that Plaintiff's Unopposed Motion to Transfer be, and hereby is,

GRANTED; and it is further

       ORDERED, that this matter shall immediately be transferred to the United States Court

of Federal Claims.
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                                           U.S. District Court Judge Christopher R. Cooper




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